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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

             Plaintiff,                            Case No. 4:12-cr-278-BLW

      v.                                           ORDER

MARCO ANTONIO ECHEVERRIA,

             Defendant.




      The Court interprets the Letter Requesting Copies (docket no. 240) as a motion for

copies of the entire file without the payment of costs. There are hundreds of documents

in the file and the cost of copies would be extensive. The defendant has pled guilty and

there is no appeal. The motion shall be denied.

      NOW THEREFORE IT IS HEREBY ORDERED, that the Letter Requesting

Copies (docket no. 240), interpreted as a motion to provide copies without the payment of

costs, is DENIED.



                                                  DATED: May 30, 2014


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief Judge
                                                  United States District Court
